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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

KHAMBAO MONTGOMERY MULDOON             §
                                       §
VS.                                    §    CIVIL ACTION 4:15-CV-00114-Y
                                       §
STATE FARM LLOYDS AND                  §
WENDY LACEY                            §
                                 FINAL JUDGMENT
       In accordance with the parties’ joint stipulation of dismissal
and the Court’s order of dismissal filed this day, Plaintiff’s claims
are DISMISSED WITH PREJUDICE.
       Each party shall bear its own costs under 28 U.S.C. § 1920.
       SIGNED December 2, 2015.


                                      ____________________________
                                      TERRY R. MEANS
                                      UNITED STATES DISTRICT JUDGE
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TRM/ah




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